                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )
        v.                                      )       No. 2:11-00002
                                                )       Judge Trauger
                                                )
TIFFANY BROOK NORRIS                            )

                                       AGREED ORDER

        Upon oral agreement of the parties in open court on March 31, 2014, it is hereby ORDERED

that:

        1) Ms. Norris be held in custody until April 25, 2014.
                                                               at 12:30 p.m.
       2) A status conference will be set for April 25, 2014, and on that day Ms. Norris may be
released from custody at the Marshal’s office.

       3) Ms. Norris will report and enter into New Leaf Recovery’s 28 day inpatient treatment on
April 28, 2014.

       4) Upon completion of the New Leaf program, Ms. Norris will enter the Hope Center’s
Recovery Program for Women, which lasts approximately six to nine months, depending on
successful participation and progress.

       5) Ms. Norris shall have no contact with Howard Bohannon, or any other convicted felon,
without prior approval from probation.

        6) All previous conditions of supervision remain in effect.

        IT IS SO ORDERED.

                      9th day of
        ENTERED this _____              April                    , 2014.


                                                __________________________________
                                                ALETA A. TRAUGER
                                                Judge, United States District Court




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APPROVED FOR ENTRY:

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